Case 2:25-cr-00003-AWA-RJK          Document 35       Filed 06/30/25     Page 1 of 1 PageID# 313




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

  UNITED STATES OF AMERICA

  v.                                                  CRIMINAL NO. 2:25cr3

  BRAD KENNETH SPAFFORD,

                DEFENDANT.

                                      REFERRAL ORDER

         This Court has been advised that the defendant wishes to enter a plea of guilty. A United

  States Magistrate Judge is hereby authorized, with the consent of the defendant, to conduct the

  proceedings required by Federal Rule of Criminal Procedure 11 incident to the making of the plea.

  See 28 U.S.C. § 636(b)(1); United States v. Benton, 523 F.3d 424 (4th Cir. 2008). The defendant

  may consent to the Magistrate Judge conducting the proceedings on a form provided by the Clerk.

         If, after conducting such proceedings, the Magistrate Judge recommends accepting the plea

  of guilty and the associated plea agreement, a pre-sentence investigation shall be conducted, a

  report will be prepared pursuant to Federal Rule of Criminal Procedure 32, and a sentencing date

  shall be scheduled. The undersigned District Judge will adjudicate guilt and will determine and

  impose the sentence.

         The Clerk is DIRECTED to send a copy of this Order to counsel for the parties.

         IT IS SO ORDERED.



            June 30, 2025                                         /s/
               DATE                                   UNITED STATES DISTRICT JUDGE
